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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                  Plaintiffs,                      No. 1:21-cv-02995-CJN
       v.

SIDNEY POWELL,                                     Judge Carl J. Nichols

                  Defendant.


                                   INDEX OF EXHIBITS

       The following exhibits in support of Smartmatic’s Opposition to Defendant’s Motion to

Dismiss are attached to the supporting declaration of Michael E. Bloom:

         A.     Powell Memorandum of Law filed in Smartmatic USA Corp., et al. v. Fox Corp.,
et al., No. 151136/2021, NYSCEF 290 (filed Apr. 8, 2021).

      B.       Complaint filed in U.S. Dominion, Inc., et al. v. Powell, et al., No. 21-cv-00040
(D.D.C.) (filed Jan. 8, 2021)

        C.      Memorandum of Law in Support of Motion To Dismiss in U.S. Dominion, Inc., et
al. v. Powell, et al., No. 21-cv-00040 (D.D.C.) (filed Mar. 22, 2021), ECF No. 22-2 .

       D.       Decision & Order on Motion To Dismiss in Smartmatic USA Corp., et al. v. Fox
Corp., et al., No. 151136/2021, NYSCEF No. 856 (filed Mar. 8, 2022).

      E.     Complaint filed in Smartmatic USA Corp., et al. v. Fox Corp., et al., No.
151136/2021, NYSCEF No. 1 (filed Feb. 4, 2021).




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